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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York

NB:JLG/LTG/MRM                                     610 Federal Plaza
F. #2018R00279                                     Central Islip, New York 11722



                                                   October 16, 2019


By Federal Express and ECF

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                Re:   United States v. Christopher McPartland and Thomas J. Spota
                      Criminal Docket No. 17-587 (JMA)

Dear Counsel:

              Enclosed please find the government’s supplemental discovery in accordance
with Rule 16 of the Federal Rules of Criminal Procedure.

               The enclosed hard-drive is being produced pursuant to the terms of the parties’
March 19, 2019 Stipulation and Order (the “Protective Order”). In particular, this production
contains materials that were initially flagged and withheld as being potentially subject to the
attorney-client privilege, but which have since been reviewed and ultimately deemed non-
privileged by a taint team. The following materials are contained thereon:

               (1) Documents stamped with control numbers SCDA 000632375 through
SCDA 000632693, which constitute the government’s further production of the
electronically-saved files, e-mails, and calendars maintained by the Suffolk County
Department of Information Technology (“SCDIT”) for the time period between and
including December 14, 2012 and December 31, 2017, for the following nine custodians:
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Thomas Spota, Christopher McPartland,
James Burke,                                                                   ; and

               (2) Documents stamped with control numbers SCDA_HD 000195935
through SCDA_HD 000197676, which constitute the government’s further production of
materials contained on the imaged hard-dives of the computers used by Thomas Spota,
Christopher McPartland, and                  during their tenure at the Suffolk County
District Attorney’s Office.

               Any additional materials of this kind, that are reclassified as non-privileged,
will continue to be produced on a rolling basis as that determination is made.

                 Finally, further to our discussion of September 11, 2019, concerning the
government’s identification of certain documents and materials that have potential relevance
at trial, all of which have been previously produced to you in accordance with Rule 16 of the
Federal Rules of Criminal Procedure, enclosed please find a .PDF export of 291 documents
culled from the imaged hard-drives referenced above (at #2), and a .PDF export of an
additional 10 documents culled from the SCDIT “back-up tapes” referenced above (at #1).
Additional materials deemed potentially relevant will be provided on a rolling basis, as they
are identified, or (with respect to materials being reviewed for privilege) as they become
available.

              As before, these materials are being provided to you via a third party data
hosting and processing company.



                                                    Very truly yours,

                                                    RICHARD P. DONOGHUE
                                                    United States Attorney

                                            By:      /s/
                                                    Nicole Boeckmann
                                                    Lara Treinis Gatz
                                                    Justina L. Geraci
                                                    Michael R. Maffei
                                                    Assistant U.S. Attorneys

Enclosure.

cc:    Clerk of the Court (JMA) (by ECF) (redacted) (without enclosure)




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